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                            UNITED STATES DISTRICT COURT
                                DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,

                        Plaintiff,

                vs.                                                       Case No. 21-cr-28

JAMES D. BEEKS,

                        Defendant.


               NOTICE OF INTENT TO ADOPT AND SUPPLEMENT
                      PRETRIAL MOTIONS TO DISMISS

        James Beeks, by counsel, and preserving all jurisdictional challenges,1

informs the Court that he is adopting or joining in the motions to dismiss the

indictment that are currently pending before the Court. The defense does want to

supplement the briefs that have already been filed. At the same time, the defense

is mindful of the fact that: 1) the matter has been briefed extensively; 2) there is an

April trial date; 3) the motions were filed in June and argued in September; and 4)

the Court is probably well on its way to issuing a decision on the motions. Given

those considerations, the defense proposes that it submit its supplement in one


1On November 30, 2021 prior to the undersigned’s Notice of Appearance, Mr. Beeks filed an “Affidavit of
Status” (R. 8), that could, in concert with statements made at a corresponding hearing to review certain
release conditions, be construed as a challenge to the Court’s jurisdiction on the basis of his “sovereign”
status. The defense will not be supplementing that submission or dwelling on it beyond this footnote.
However, at Mr. Beeks’ request, the defense re-notes this previously entered jurisdictional objection, and
asks that it be viewed as a standing objection.
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week, by Friday December 17, 2021. The defense will limit its supplement to five

pages. The defense has conferred with counsel for the government, who indicated

that it does not oppose the request.

      Dated at Milwaukee, Wisconsin, this 10th day of December, 2021.

                                Respectfully submitted,

                                /s/ Joshua D. Uller
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                                Counsel for Defendant, James Beeks
